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                                                                             ATTEST: A TRUE COPY
                                                                             CERTIFIED THIS
                              UNITED STATES JUDICIAL PANEL                           8/29/2018
                                           on                                Date: __________________________
                               MULTIDISTRICT LITIGATION
                                                                             JAMES N. HATTEN, Clerk
                                                                                    s/J. Lee
                                                                             By: ____________________________
IN RE: EQUIFAX, INC., CUSTOMER DATA                                                   Deputy Clerk
SECURITY BREACH LITIGATION                                                              MDL No. 2800



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −25)



On December 6, 2017, the Panel transferred 76 civil action(s) to the United States District Court for
the Northern District of Georgia for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 289 F.Supp.3d 1322 (J.P.M.L. 2017). Since that time, 203 additional action(s)
have been transferred to the Northern District of Georgia. With the consent of that court, all such
actions have been assigned to the Honorable Thomas W. Thrash, Jr.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Georgia and assigned to
Judge Thrash.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Georgia for the reasons stated in the order of December 6, 2017, and, with the
consent of that court, assigned to the Honorable Thomas W. Thrash, Jr.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Georgia. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:
     Aug 29, 2018



                                                       Jeffery N. Lüthi
                                                       Clerk of the Panel
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IN RE: EQUIFAX, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                               MDL No. 2800



                   SCHEDULE CTO−25 − TAG−ALONG ACTIONS



 DIST       DIV.     C.A.NO.      CASE CAPTION


MINNESOTA

                                  Fond du Lac Band of Lake Superior Chippewa v.
  MN         0       18−02381     Equifax, Inc. et al

WISCONSIN WESTERN

                                  St. Croix Chippewa Indians of Wisconsin v. Equifax,
 WIW         3       18−00547     Inc. et al
